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                                                                                                        Reset Form


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 AFGE et al.                                            CASE No C 3:25-cv-03698-SI


                                Plaintiff(s)
                                                        ADR CERTIFICATION BY
 v.
                                                        PARTIES AND COUNSEL
 Trump et al.
                                Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
         (available at cand.uscourts.gov/adr).
      2) Discussed with each other the available dispute resolution options provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any of the available dispute resolution
         options.
 Date:July 10, 2025                            /s/ Molly J. Alarcon, on behalf of the City and County of San Francisco
                                                                            Party
 Date: July 10, 2025                                    /s/ Molly J. Alarcon
                                                                           Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
       intend to stipulate to an ADR process
       prefer to discuss ADR selection with the Assigned Judge at the case management
      ■



        conference


       Date: 7/11/2025                                  /s/ Toby Merrill
                                                                             Attorney




  Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options.”



 Form ADR-Cert rev. 1-15-2019
                                                                                                        Print Form
